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                                                                                                            EXHIBIT E
                                 MERIT SYSTEMS PROTECTION BOARD
                                         Appeal Form--Appellant and Agency Information

Please type or print legibly.                                                                                             OMB No. 3124-0009
1. Name (last, first, middle initial)
    Thomas, Carrie, N.
2. Present Address (number and street, city, state, and zip code)
    Address:                                   145 North Vail Dr.


    City, State, Zip Code:                     Madison Heights, Virginia, 24572, United States of America
3. Telephone numbers (include area code) and E-Mail Address
       You must notify the Board in writing of any change in your telephone number(s) or e-mail address while your appeal is pending.

    Home:                                                                             Work:
    Fax:                                                                              Cell:   (202) 603-8239
    E-mail Address: plomeeke@gmail.com                                                          Other Phone Type: Mobile
4. Do you wish to designate an individual or organization to represent you in this proceeding before the Board? (You may designate a
    representative at any time. However, the processing of your appeal will not normally be delayed because of any difficulty you may
    have in obtaining a representative.)
                        Yes                                                                                 ✔    No
5. Name, address, and telephone number of the agency that took the action or made the decisions you are appealing (include bureau
    or division, street address, city, State and Zip code)
    Agency Name:                        Department of Defense
    Bureau:                             Washington Headquarters Services
    Address:
                                        2450 Crystal Dr. Suite 1300

    City, State, Zip code:              Arlington, Virginia, 22202, United States of America
    Agency Phone:                       (202) 431-8982
6. Your Federal employment status at the time of the decision          7. Type of appointment (if applicable):
    or action you are appealing:

       Temporary             ✔   Permanent          Applicant                ✔   Competitive               SES                    Excepted
       Term                      Retired            Seasonal                     Postal Service            Other
       None
8. Your occupational series, position title, grade, and duty station at the time of the          9. Are you entitled to veteran's preference?
   decision or action you are appealing (if applicable):                                             See 5 U.S.C. 2108.
Occupational Series                             Position Title:
                      0501                                        Financial Manager                    ✔   Yes                 No
or Cluster:
                                                 Duty Station:
Grade or Pay Band: NH-IV-0501                                     NAVSEA HQ,

10. Length of Government Service (if applicable):                      11. Were you serving a probationary, trial, or initial service period at
                                                                            the time of the action or decision you are appealing?

              25   Years           Months
                                                                                  Yes              ✔   No

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                                MERIT SYSTEMS PROTECTION BOARD
                                      Appeal Form--Appellant and Agency Information

Please type or print legibly.
 HEARING: You may have a right to a hearing before an administrative judge. If you elect not to have a hearing, the
 administrative judge will make a decision on the basis of the submissions of the parties. Do you want a hearing?


12. Do you want a hearing?                  ✔   Yes                  No
E-Filing: Registration as an e-filer enables you to file any or all of your pleadings with the Board in electronic form. Registration
also means you consent to accept service of all pleadings filed by other registered e-filers and all documents issued by the
Board in electronic form. You will receive these as PDF documents at the e-mail address you provided the Board. If registered as
an e-filer, you may file any pleading, or portion of a pleading, by non-electronic means. You can withdraw your registration as an
e-filer at any time.

13. Do you wish to register as an E-Filer in this appeal?
                                ✔   I elect to E-File                                I decline to E-File


14. I certify that all of the statements made in this form and all attached forms are true, complete, and correct to
     the best of my knowledge and belief.




     Carrie Nicole Thomas, Appellant                                                           Date:




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                                 MERIT SYSTEMS PROTECTION BOARD
                          Appeal of Agency Personnel Action or Decision (Non-retirement)

Complete this form and attach it to MSPB Form 185-1 if you are appealing an agency personnel action or decision (other than a
decision or action affecting your retirement rights or benefits) that is appealable to the Board under a law, rule, or regulation. If the
personnel See 5 CFR 1201.3(a) for a list of appealable personnel actions and action or decision is appealable to the Board, you
should have received a final decision letter from the agency that informs you of your right to file an appeal with the Board.

Please type or print legibly.                                                                                     OMB No. 3124-0009
Please submit only the attachments requested in this form at this time. You will be afforded the opportunity to submit detailed evidence
in support of your appeal later in the proceeding.

 Name (last, first, middle initial) Thomas, Carrie, N.

 1. Check the box that best describes the personnel action or decision taken by the agency you named in MSPB Form 185-1 that you are
      appealing. (If you are appealing more than one action or decision, check each box applies.)


              Veterans Administration Senior Executive Service Removal                   Veterans Administration Senior Executive Service Transfer to
              from civil service                                                         general schedule
              Removal (Termination after completion of probationary or initial service period)             Involuntary Resignation
              Termination during probationary or initial service period                                    Involuntary Retirement
          Reduction in grade or pay              ✔   Suspension for more than 14 days
          Separation, demotion, or furlough for more than 30 days by reduction in force (RIF)                     Furlough of 30 days or less
          Denial of within-grade increase        ✔   Failure to restore/reemploy/reinstate or improper restoration/reemployment/reinstatement
      ✔   Negative suitability determination
      ✔   Other action or decision (describe): Describe other action           Hostile Work Environment
 2.                                                                       3.
      Date you received the agency's final decision letter (if any)            Effective date (if any) of the agency action or decision (month, day,
      (month, day, year) (Attach a copy)                                       year)


                     02/22/2021                                                              10/01/2019
 4.
      Prior to filing this appeal, did you and the agency mutually agree in writing to try to resolve the matter through an alternative dispute
      resolution (ADR) process?
                 Yes                                                            ✔   No

 5. Explain briefly why you think the agency was wrong in taking this action. In challenging such an action, you may choose to allege that
      the agency engaged in harmful procedural error, committed a prohibited personnel practice, or engaged in one of the other claims
      listed in Appendix A. Attach the agency's proposal letter, decision letter, and SF-50, if available.

      See Continuation Sheet for Response.




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                            MERIT SYSTEMS PROTECTION BOARD
                         Appeal of Agency Personnel Action or Decision (Non-retirement)

Please type or print legibly.
6.
      With respect to the agency personnel action or decision you are appealing, have you, or has anyone on your behalf, filed a grievance
      under a negotiated grievance procedure provided by a collective bargaining agreement?


                  Yes                                   ✔
                                                             No

7.
      If your answer to question 6 is "Yes," on what date was the grievance filed (month, day, year)?
                           NOT APPLICABLE




8.    If your answer to question 6 was "Yes," has a decision on the grievance been issued?

                           NOT APPLICABLE

9. Did you file a whistleblowing complaint with the Office of Special Counsel (OSC)?

             Yes                                    ✔   No



10. Have you received written notice that the Office of Special Counsel made a decision or terminated its investigation?

                            NOT APPLICABLE




11.
       Did you file a complaint on this matter with the Department of Labor (DOL)?

              Yes                                   ✔   No



12. Has the Department of Labor notified you that your USERRA or VEOA complaint could not be resolved?

                            NOT APPLICABLE




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                             Merit Systems Protection Board Form 185-2
                       Appeal of Agency Personnel Action or Decision (Non-retirement)

                                                 Continuation Sheet

5. Explain briefly why you think the agency was wrong in taking this action. In challenging such an action, you may choose to
allege that the agency engaged in harmful procedural error, committed a prohibited personnel practice, or engaged in one of
the other claims listed in Appendix A. Attach the agency's proposal letter, decision letter, and SF-50, if available.

DON'S Investigation, returned showing no discrimination on 02/23/19
STATEMENT OF CLAIM references only the action taken on 10/01/2019 placing me on Indefinite Suspension Without Pay.
(ISWP)
This claim should be a culmination of 2 events occurring: 1. Suspend Secret Clearance (SSC) and 2. ISWP. However,
NAVSEA has created a loophole through its official stance - once a person's clearance has been suspended there is 'NO
POLICY' on reassignment. Quote by RMO4 [Pg 6/39]. Once my SSC was suspended, ISWP was a foregone conclusion. It's
impossible to find discrimination in a process with no policy.

[RMO3] averred that [policies] were followed in making his decision to suspend …. RMO3's decision was made after
consideration of the totality of reported activity and concerns…" [Pg. 6/39]

DON Case Number 20-30270-01839 was filed as a bifurcated claim, these events led to or occurred after my ISWP.
*Perjury
Mr. Segura provided a signed Interrogatory statement, under penalty of perjury that [his] statement is true, correct, and
complete…." [Pg. 308/1325]
-Investigator asked why Dr's note submitted had not been used to mitigate these claims.
- Ans: "The Complainant submitted medical documentation to Security; the documentation was not submitted by Complainant's
doctor."
> Never communicated to me.

7/15/19 I requested proof several times via email to Ms. Veronica Monk, NAVSEA Security, for the items I was currently being
accused of and was provided nothing

A sampling of the discrimination I suffered daily, can be found in DON Case # DON No.19-30270-01944 filed on 06/19/19 for
actions starting around Aug 2017

*Disparate treatment:
10/30/18- I received a 'Letter of Reprimand' due to my disability, avoiding hostile situations and sometimes oversleep.
Management knew this was due to medical reasons.
- I was provided zero assistance, nor a different supervisor as requested
10/30/18: Ms. Campbell also received a 'Letter of Reprimand' for harassment of me, sharing my HIPAA information via email to
another co-worker
- She received a coach to assist her

*Retaliation: 09/28/18 Ms. Campbell was informed that she was under investigation for her actions against me. The very next
working day, 10/1/18, she refused my doctor's note, and began marking me AWOL.

*Segregated treatment: Ms. Campbell would do things, only to me. My FMLA wasn't usable without a Dr's note, I was marked
AWOL if I arrived to work or a meeting 10 minutes late. Watching video cameras and my card swipe logs. She went back up to
6 weeks in time to reduce my hours worked. I was provided no proof and no rights to appeal




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*HARMFUL POLICY ERRORs*
Ms. Campbell's unwillingness to enforce the Reasonable Accommodation Laws and Policy.
07/04/17 First documentation proving I informed my new Supervisor, Ms. Sarah Campbell, that I was under the care of a
psychiatrist and was having issues with sleep. Worded in plain language
11/26/18 Submitted Official RA request to NAVSEA. I should have had an answer in writing within 30 days. I have never
received a proper letter, but I have received numerous punishments, including removal
- NAVSEAINST 12610.3, Timekeeping, I was on 'Maxiflex'. "A flexible schedule .. employee may vary arrival and departure
times... and has a basic work requirement of 80 hours.. " Same manual, Supervisors may change schedules "at an employee's
request, as in the case of personal hardship." My supervisor chose punitive letters while removing telework, Maxiflex, credit
hours




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                                        e-Appeal Attachment Transmittal
Appeal Number:             202101038
Appellant Name:            Carrie Nicole Thomas
Agency Name:               Department of Defense


Please check the box for each document included with this transmittal.

     Name of Attachment                  Attachment Processing        File Name/Delivery Method
                                         Status
     SF-50, Notification of Personnel    Upload with e-Appeal         00_Thomas C Suspension SF-50.pdf
     Action
     Agency Proposal Letter              Upload with e-Appeal         Thomas C Indefinite Suspension With Enclosures 9-30-
                                                                      2019.pdf
     Agency Decision Letter              Upload with e-Appeal         20-30270-01839-Carrie Thomas-Mixed FADonline.pdf

                              2 copies must be submitted of all documents submitted in hardcopy.
                                       Send documents to be submitted in paper form to:
                                               Washington DC Regional Office
                                                1901 S. Bell Street, Suite 950
                                                  Arlington, Virginia 22202
                                                  United States of America

                                                     Phone: (703) 756-6250
                                                      Fax: (703) 756-7112




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